Case 4:13-cv-01983 Document 1-8 Filed on 07/08/13 in TXSD Page 1 of 5
Case 6:12-cv-02534-RFD-PJH Document 50-3 Filed 04/24/13 Page 3 of 29 PagelD #: 864

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Rowan with respect to an Exploratory Well, then Rooster may cash call Participant for its
proportionate share of the amounts being cash called by Rowan, and Participant hereby
agrees to pay any invoice for same within fifteen (15) days of the invoice date.

“Casing Point” is defined as that point in time when. an. Exploratory Welldiaa heen drilled
16 its Objective Depth (as defined below) and appropriate tests gs have been
conducted and the recommendation is made by Rooster to plug and abandon or run and
set a production string of casing and attempt a completion on suchExploratory Well. At

that point, Participant will be provided verbal or written notifi of such an event and
recommendation and shall then have twenty-four (24) hour ect to concur with the
reconimendation of Rooster or elect an alternative. If R. recommends attempting

completion in an Exploratory Well and Participant #8 to plug and abandon or
otherwise fails to concur with a completion recom tion within such twenty-four
(24) hour period, then Participant shal] not earn or been itled to the Assigned Interest in
such Exploratory Well and thereafter shall only.Ge responsible for its share of costs
incurred in such Exploratory Well to such C oint election and for plugging and
abandonment costs if the applicable Explo Well is not successfully completed; if
the applicable Exploratory Well is successfully completed and Participant did not
participate in such completion, then Partpant shall have no liability or obligation for
plugging and abandonment costs, oster shall indemnify and hold Participant
harmless therefrom.

3. Exploratory Wells. The VR 498 A-3 Well shall be drilled to a total depth of
approximately 4,230° TVD/7,97Z) MD or such depths as will be sufficient to test the 5-2
sand formation and the 76 A-4 Well shall be drilled to a total depth of
approximately 6,200° 67° MD or such depths as will be sufficient to test the T-3
sand formation (coll , the “Objective Depths”), Rooster represents and warrants
thet it has Wells wi th at the time of commencement of drilling of each of the

Exploratory Wells ave obtained, all necessary government approval to drill to the

Objective Dente

The comme: ent of drilling on any well shall be that point in time when the drilling
bit turns ix. ‘ound for the drilling of any well contemplated herein.

site V ell. If during the drilling of the Exploratory Wells or any substitute well as

(led in this Section 4, mechanical difficulties, heaving shale, rock shale, excessive

fl water flow, practically impenetrable formations or other conditions occur in the hole

hich would cause a reasonable and prudent operator under the same or similar

circumstances to discontinue drilling and to plug and abandon, or plugback and sidetrack,

such well, cach Party hereto shall have the right, but not the obligation, to commence

actual drilling operations on another well or sidetracking operation on such well

(hereinafter referred to as the “Subsvitute Well") at a mutually agreeable location on the

Lease within thirty (30) days after the date the drilling rig was released. from the last

- operation on the Exploratory Wells. In such case, if Participant elects not to participate

in a Substitute Weil, it shall have no obligation for any costs, expenses or liabilities

related to such Substitute Well and it shall not earn the Assigned Interest in the Substitute

Well. If both Parties make an election to commence actual drilling operations for the
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Page 3
Case 4:13-cv-01983 Document 1-8 Filed on 07/08/13 in TXSD Page 2 of 5
Case 6:12-cv-02534-RFD-PJH Document 50-3 Filed 04/24/13 Page 4 of 29 PagelD #: 865

Substitute Well, it shall in all respects be considered as if it were one of the Exploratory
Wells (as applicable).

5. Operator. Rooster Petroleum, LLC, is currently operator of the Lease and;shall continue
as Operator of the Lease in accordance with the terms and provisions e Operating
Agreement (as defined in Paragraph 6 hereinafter). Participant here tees to execute
appropriate documents, if necessary, designating Rooster Petralen » fo be operator
of the Lease, along with the execution of any other documents required in order to drill
the Exploratory Wells and produce same from the Platform. “GO

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6. Operating Agreement. Operations on the Lease are caret subject to an existing
Offshore Operating Agreement effective October 1, etween PetroQuest Energy

One, L.L.C,, as Operator, and LLOG Exploration & roduction Company, as Non-
Operators, covering all of OCS-G 14428 Vermilion Block 376 (the “Operating
Agreement”), a true and correct copy of which is attadhed hereto as Exhibit “F”. Rooster
represents that ne amendments have been to the Operating Agreement. A
Ratification of Operating Agreement will be required, however, the Operating
Agreement shall govern all operations contemplated under this Participation Agreement
after Casing Point of each of the wre ells,

7. Title and Assignment. Rooster represents and warrants to Participant that Apache
Corporation owns an undivided of the operating rights in and to the Exploratory
Wells and has elected not to participate in the drilling of the Exploratory Wells and hence
upon commencement of operations on the first of the Exploratory Wells, all of Apache
Corporation’s leasehold o: peat g rights in the Exploratory Wells and title to production

therefrom shall be ov ped and vested in Rooster for as long as the operations on the
Exploratory Wells are hei? ig conducted or production is obtained subject to the terms of

the Operating Agreensent. Rooster represents and warrants to Participant that, in addition
to the Apache interés{, Rooster owns an undivided fifty percent (50%) of the operating
rights in and t ploratory Wells and the production therefrom. Conditioned on its
performance i ordance with the terms hereof, Participant shall be the owner of an.

a wellbore assignment that shall convey the Assigned Interest by special warranty
hrough and under Rooster Oil & Gas, LLC, but not othenvise, and shall be limited as

to warranties in such manner as shall be set forth in the instrument of assignment
covering the Assigned Interest (the “Wellbore Assignment”) subject only to the burdens,
agreements and other items set forth in Exhibit “A” attached hereto and made a part
hereof (the “Permitted Encumbrances”). A separate Wellbore Assignment shall be
made for each of the Exploratory Wells. Each Wellbore Assignment will be filed by
Rooster in the appropriate public records of the appropriate parish(es) of Louisiana and
the records of the Bureau of Ocean Energy Management, Department of the Interior
(“BOEM”) and they shali be substantially similar to the forms attached hereto and made
a part hereof as Exhibit “C-1" and Exhibit “C-2". Each Wellbore Assignment shall be

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6/2011
Page d
Case 4:13-cv-01983 Document 1-8 Filed on 07/08/13 in TXSD Page 3 of 5
Case 6:12-cv-02534-RFD-PJH, Document 50-3 Filed 04/24/13 Page 5 of 29 PagelD #: 866

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effective as of the Effective Date, The net revenue interest attributable to the Assigned
Interest is 18.166599% before Payout and 17.58333% after Payout (based upon the net
revenue interest attributable to the 6/6ths working interest in the Lease being 72.66636%
before Payout as limited in depth (as set out in Exhibit “A” attached } in the
wellbore of each of the Exploratory Wells. At 7:00 a.m. upon the day len the date
of recoupment of the non-consent penalties provided for in the Op Agreement
which may or may not happen prior to Payout, Apache Corporation be vested with °
100% of the Assigned Interest and shall become a Participating in the operations
for the Exploratory Wells. At that date, Participant shall not o be vested with any
other rights in the Assigned Interests. w&

“Payout” is defined in that certain Farmout Agreemen tive December 15, 1998,
between BHP Billiton Petroleum (Deepwater) Inc. et al as Farmor, and PetroQuest
Energy One, L.L.C., as Farmee, 5 QB

Notwithstanding anything to the contrary therein, Rooster represents and warrants
to Participant that the Assigned Interest to Rveyed to Participant is ne less than
the working interest and the attributable net révenue interest sct out hereinabove in
this Section 6 and is burdened as desgribed in the Permitted Encumbrances in
Exhibit “A” attached hereto. The esentations and warrauties herein shall
survive for the entirety of the period vhérein Participant owns or is vested with any
of the rights in the Assigned Intérests, and for as long thereafter as necessary to
protect Parficipant against any claim, demand, or suit related te the existence of the
burdens attributable to the Agsigned Interests as listed on Exhibit “A” attached

hereto, ©
ereto ©
7. Use of the Platform, ts necessary to connect any of the Exploratory Wells to the

from the Explorato Is shall be shared and paid proportionately by Rooster, the

Participant and theo r working interest owners, if any, of the Exploratory Wells.

Platform operatiag and maintenance expenses shall be allocated in proportion to the

producing well count during a calendar month as it relates to the total number of wells

producing fi e Platform during such calendar month. For purposes of this provision,

a panes me or each completion in a multi-completed well shall be considered as a
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facilities on the ty id any modification to the Platform as a result of production

separa . Ifa separate Production Use Agreement is necessary, Participant agrees to
execut greement reflecting the terms set forth in this paragraph.

The Parties hereby agree that there shall be as a slot fee of $150,000.00 (6/Gths basis) for
each of the Explorafory Wells, or a total of $300,000 to be paid to the joint account
owners of the Platform. Rooster represents and warrants to Participant that no other slot
fee or payment in regard to the use of a slot on the platform will be required by
Participant in excess of $150,000.00 for each of the Exploratory Wells, reduced
proportionally to Participant’s Assigned Interest, with any additional amounts required by
Apache being payable by Rooster, The Parties also hereby agree that Participant will not
be assigned nor have any ownership in the existing wells, equipment or facilities,
including, but not limited to the Platform, currently on the Lease, and specifically
Participant will not be liable to pay any plugging and abandonment or decommissioning
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Page 5
Case 4:13-cv-01983 Document 1-8 Filed on 07/08/13 in TXSD Page 4 of 5
Case 6:12-cv-02534-RFD-PJH Document 50-3 Filed 04/24/13 Page 6 of 29 PagelD #: 867

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liability, except that it shall be responsible for and pay its proportionate share of any
plugging and abandonment liability for the Exploratory Wells if necessary and if an
Exploratory Well is plugged and abandoned prior to any interest therein reverting to
Apache pursuant to the Operating Agreement, wk

8. Assumption. Participant agrees that the Assigned Interest shall be subj the terms of
the Operating Agreement and the Permitted Eucumbrances, and set assumes and
agrees to pay and fully perform all costs, obligations and liabilities.arising from and after
the Effective Date of this Participation Agreement in respect, e Assigned Interest
attributable to the Exploratory Wells as set out in the AFE prior to the Effective
Date of this Participation Agreement; provided that Participani‘shall have an election at
Casing Point of each Exploratory Well to decline to parti in the completion of such
Exploratory Well and if it elects or is deemed to elect not to’ participate in the completion,
Participant shall have no obligation for costs, liability s aud expenses incurred after
Casing Point with respect to such Exploratory Well

9, Insurance. Rooster Petroleum, LLC,, as open (such term being defined in the
Operating Agreement), hereby agrees ty and maintain for all operations
contemplated hereunder at least the ase provided for in the Operating Agreement
and will also purchase insurance t er the Assigned Interest, unless prior to
commencement of operations for the oratory Wells Participant elects to carry its own
insurance and so notifies Rooster By sending a Certificate of Insurance to evidence its

coverage.
10. Furnishing Information. _Rartpent and its representatives shall at all times have
access, at their sole risk, t Platforin ftom which the Exploratory Wells are drilled and

to all information and Gamples acquired in connection with the drilling, testing and
completion of each Exploratory Well. Said access shail be at Participant’s sole risk,
liability and expens Participant will be required to notify Rooster prior to accessing
the Platform and icipant shall comply with Rooster’s safety and environmental
policies during guch occurrences. As concerns drilling and completion operations on each
of the Exploratory Wells, Rooster shall promptly deliver to Participant all information
and data 1 to each of the Exploratory Wells, including, without limitation, (i) daily
drilling by fax or email, and (ii) ail information set forth in Exhibit “D”, attached
hereto ade a part hereof.

i. AudfRicts Participant and its duly authorized representatives shall have access to
i? Rooster's records relating to the Exploratory Wells during reasonable business
hours and as may be otherwise provided for by the Operating Agreement.

12. Liability of Parties. Notwithstanding any provisions hereof, the Jiabilities of the Parties
are several, not joint or collective, and each Party shall be responsible only for its share of
the costs and liabilities incurred as provided herein. It is not the intention of the Parties to
create, nor shall this Agreement be construed as creating, a mining or other partnership or
association (except as provided to the limited extent for tax purposes in Section 13), or to
render the Parties liable as partners.

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Pase 6
Case 4:13-cv-01983 Document 1-8 Filed on 07/08/13 in TXSD Page 5 of 5
Case 6:12-cv-02534-RFD-PJH Document 50-3 Filed 04/24/13 Page 7 of 29 PagelD #: 868

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13. Costs of Non-Consent Operation. Rooster agrees that ali of the costs of a type set forth
on Schedule 13 to this Agreement will be included in the itemized statement that Rooster
will give under Section 12.1.5 of the Operating Agreement with respect to each

Exploratory Well.
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14. Governing Law. This Participation Agreement and ail instrumefits” executed in
accordance with it, and the rights and obligations of the parties heal be governed,

construed, and enforced in accordance with the laws of the State Ss, without regard
to rules governing conflict of laws. ‘Venue for any litigation concenng or related to this
Participation Agreement shall be in any state or federal court.with jurisdiction located in
Harris County, Texas. °@

If this Participation Agreement i is placed in the hands Nemes for collection of any
sums due hereunder, or suit is brought on same by .cithe? Party for any reason, or sums
due hereunder are collected through bankruptey or te proceedings, then Rooster and
Participant each agree that there shall be add. the amount due and owing to the
prevailing Party in any dispute or litigatio reasonable attomeys’ fees and costs
incurred in connection with collection and/orditt ation.

15. Confidentiality and Press Releases, Pauticipant shall consult with Rooster with regard to
all publicity and other releases it may(ssuie concerning this Participation Agreement and
the transactions contemplated h and, except as required by applicable law or the
applicable rules or regulations of day governmental body or stock exchange, Participant
shall not issue any public stafement or other release concerning or related to the
Exploratory Wells without wr written consent of Rooster.

16. Severability. All pes erein are severable aud in the event any one of them shall
be held invalid by any co’ out of competent jurisdiction, this Participation Agreement shall
be interpreted as if s valid provision was not contained herein,

17, Captions. The as in this Participation Agreement are for convenience of reference
only and sh Pe limit or otherwise affect the construction or interpretation of any

provision of this Participation Agreement.

18. there is any conflict between the terms and provisions of this Participation

Coir
. Conf the terms and provisions of the Operating Agreement, the terms of this
P: tion Agreement shall control.

19, Survival. This Participation Agreement and the representations, warranties, covenants
and agreements contained herein shall survive the consummation of the transactions
contemplated herein,

20. Further Assurances. From and after the date hereof, each of the Parties hereto, without
finther consideration, shall use its best efforts to execute, deliver and record, or cause to
be executed, delivered, and recorded, good and sufficient instruments of conveyance and
transfer, and take such other action as may be reasonably required to carry out the
purpose of this Participation Agreement. Failure of any Party ta execute and return any

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Page?
